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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TEXAS
                           TYLER DIVISION


TEXAS MEDICAL ASSOCIATION, et al.,

                          Plaintiffs,

v.                                         Civ. Action No. 6:22-CV-00372

U.S. DEPARTMENT OF HEALTH AND              Lead Consolidated Case
HUMAN SERVICES, et al.,

                          Defendants.



     BRIEF OF AMICI CURIAE AMERICAN MEDICAL ASSOCIATION AND
                 AMERICAN HOSPITAL ASSOCIATION
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                 STATEMENT OF INTEREST OF AMICI CURIAE

      The American Hospital Association represents nearly 5,000 hospitals,

healthcare systems, and other healthcare organizations. Founded in 1898, the AHA

educates its members on healthcare issues and advocates on their behalf so that their

perspectives are heard and addressed in national health policy development,

legislative and regulatory debates, and judicial matters. Its members are committed

to improving the health of the communities that they serve, and to helping ensure

that care is available to and affordable for all Americans.

      The American Medical Association is the largest professional association of

physicians, residents, and medical students in the United States. The AMA was

founded in 1847 to promote the art and science of medicine and the betterment of

public health, and these remain its core purposes. AMA members practice in every

state and in every medical specialty.

      Amici regularly file amicus briefs and engage in other advocacy efforts to

support the interests of physicians and hospitals nationwide.

      Amici and their members strongly support Congress’s goal of protecting

patients from “surprise billing.” For years, they have consistently advocated for a

patient-first solution to surprise billing that would shield patients from unexpected

medical bills, while enabling providers and insurers to determine fair payment among

themselves and ensuring continued access to care.         Amici thus supported the

compromise set forth in the No Surprises Act, which both protected patients from

surprise medical bills and established an independent dispute resolution process with



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an intentionally balanced approach that did not skew towards either providers or

insurers.

      The Departments’ Final Rule, however, upsets the balance that Congress

struck, and fails to achieve the goal of fair payment. The members of amici AMA and

AHA therefore agree with Plaintiffs that the rule is unlawful. They submit this brief

to emphasize why it is also unworkable as a practical matter, as well as to explain

the detrimental impact it will have on the ability of physicians and hospitals to

provide their patients with the excellent care they deserve.




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                                  INTRODUCTION

      Earlier this year, this Court held unlawful an interim final rule promulgated

by the Departments of Health and Human Services, Labor, and the Treasury, along

with the Office of Personnel Management (the “Departments”). Texas Med. Ass’n v.

U.S. Dep’t of Health & Human Servs., No. 6:21-cv-425-JDK, 2022 WL 542879, at *8

(E.D. Tex. Feb. 23, 2022). In so doing, it recognized that Congress made a simple and

straightforward choice:    “The Act instructs arbitrators to ‘consider’ the QPA

[qualifying payment amount] and the five other factors in deciding which offer to

accept. That’s it.” Id. at *9 (emphasis added) (citation omitted).

      But the Departments could not take “[t]hat’s it” for an answer. Based on their

own apparent policy preferences, the Departments continue to add atextual

requirements to Congress’s simple framework. Indeed, six months after this Court

definitively interpreted the No Surprises Act, the Departments promulgated a Final

Rule with numerous extra-statutory requirements that will interfere with a balanced

consideration of Congress’s mandated factors and put a thumb on the scale in favor

of the QPA. The Final Rule’s new requirements—particularly those related to so-

called “double counting”—unlawfully overweight the QPA, just as the Departments’

“presumption” did. This Court should make clear, as amici thought its February

opinion already had, that no agency regulation is needed to supplement the

unambiguous statutory factors that Congress set forth in the NSA.

      Even if the Departments were somehow permitted to add extra-statutory

requirements to the NSA, those included in the Final Rule would not pass muster.

The Departments still overemphasize the QPA in ways that favor insurers, with
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serious collateral effects on all negotiations between providers and insurers. Among

other defects, the Final Rule requires arbitrators to discard any information

submitted by a provider with respect to the NSA’s non-QPA factors if those factors

have already been accounted for by the insurer-calculated QPA—no matter if an

insurer weighed those factors less than the arbitrator would, and even if a provider

has no realistic way to challenge an insurer’s representations regarding the QPA’s

makeup. The Departments’ continued singular treatment of the QPA plainly violates

the NSA.

      As consistent and longtime supporters of the NSA’s patient protections, amici

want the NSA to succeed. But the Final Rule jeopardizes that success by threatening

serious harm to patients and the provision of healthcare in this country. With the

Departments’ backing, insurers know they can obtain payment rates through IDR

arbitration near the below-market QPA. Consequently, they have drastically reduced

rates—from 20-50%—for in-network providers, threatening to terminate contracts if

providers do not acquiesce.    The severe rate cuts enabled by the Departments’

insurer-friendly regulations threaten the viability of physician practices and the

scope of medical services nationwide. Ultimately, the victims will be the patients who

lose ready access to care.

      The Hippocratic Oath reminds providers to “first, do no harm.”              The

Departments would also do well to keep that rule of thumb in mind. Cf. Manuel v.

City of Joliet, 580 U.S. 357, (2017) (Alito, J., dissenting) (“A well-known medical

maxim—‘first, do no harm’—is a good rule of thumb for courts as well.”). Because the



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NSA already tells arbitrators exactly what to do and “that’s it,” the Departments have

no license to tinker with Congress’s design. And they certainly should not have done

so in a way that threatens lasting harm to patient care nationwide.

                                    ARGUMENT

I.    THE FINAL RULE FAILS TO CURE THE DEFECTS THIS COURT
      IDENTIFIED WITH THE INTERIM RULE

      A.     Although The NSA Instructs Arbitrators To Follow The Statute And
             “That’s It,” The Final Rule Unlawfully Adds Various Extra-statutory
             Requirements And Restrictions

      Plaintiffs have already outlined the full scope of how the Departments’ Final

Rule continues to prioritize the QPA over the other statutorily mandated factors, and

amici agree with those arguments. Amici wish to emphasize two additional points.

      First, this Court could hardly have been clearer that the NSA is not a standing

invitation for the Departments to tamper with the arbitration procedures Congress

set forth. In finding the Departments’ earlier presumption unlawful, this Court

admonished the Departments that the NSA “instructs arbitrators to ‘consider’” all six

statutorily mandated factors, and in no way prescribes a particular “procedure” or a

“procedural order” for the arbitrator to follow. Texas Med. Ass’n, 2022 WL 542879,

at *8-*9 (citing 42 U.S.C. § 300gg-111(c)(5)(C)); see also 42 U.S.C. § 300gg-

111(c)(5)(B)(ii), (C)(i)(II) (additionally requiring arbitrators to consider “any

information relating to [an] offer submitted by either party,” without specifying a

particular procedure to follow).

      The Departments did not listen. Although the Final Rule disclaims any intent

to set a “presumption” in favor of the QPA, 87 Fed. Reg. 52,618, 52,627 (Aug. 26,


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2022), it nonetheless imposes requirements that, as Plaintiffs describe, will drive

arbitrators towards the QPA in almost every case, TMA Pls.’ Mot. for Summ. J. 18-

24. The Departments’ imposition of extra-statutory requirements thus continues to

violate the fundamental principle that “federal agencies can[not] rewrite a statute’s

plain text.” Landstar Express Am., Inc. v. Federal Maritime Comm’n, 569 F.3d 493,

498 (D.C. Cir. 2009); accord Huawei Technologies USA, Inc. v. Federal Commc’ns

Comm’n, 2 F.4th 421, 433 (5th Cir. 2021). It does not matter that the Departments

here seek to add rather than omit terms. “[A]bsent provisions cannot be supplied by

the courts”—or by administrative agencies. Little Sisters of the Poor Saints Peter &

Paul Home v. Pennsylvania, 140 S. Ct. 2367, 2381 (2020) (internal quotation marks

and alteration omitted). Indeed, “[a] statute’s ‘lack of text’ is sometimes ‘more telling’

than the text itself.”   Texas Med. Ass’n, 2022 WL 542879, at *8 (quoting Gulf

Fishermens Ass’n v. National Marine Fisheries Serv., 968 F.3d 454, 460 (5th Cir.

2020), as revised (Aug. 4, 2020)).

      That principle applies with particular force here, where Congress’s

instructions for what the arbitrator should consider when determining the

appropriate payment amount were anything but slapdash.              As this Court held,

Congress addressed in “meticulous detail,” Texas Med. Ass’n, 2022 WL 542879, at *8,

the mandatory factors that the arbitrator “shall” consider in deciding which offer to

select, 42 U.S.C. § 300gg-111(c)(5). These instructions make clear that “Congress

intended its definition” for how arbitrators should select a payment amount to be “a

comprehensive definition” of the process. ACLU v. FCC, 823 F.2d 1554, 1570 (D.C.


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Cir. 1987) (emphasis added). There is no basis for the Departments’ policy-driven

departure from Congress’s design, particularly when that departure “would render

largely irrelevant” multiple statutory provisions that “precisely detail[] ***

requirements for” determining appropriate payment.          American Hosp. Ass’n v.

Becerra, 142 S. Ct. 1896, 1905 (2022).

      Second, even were there room for extra-statutory supplementation, it is

contrary to the Act to prioritize the QPA over Congress’s other mandated factors. As

this Court has already held—presumption or not—“[n]othing in the Act *** instructs

arbitrators to weigh any one factor or circumstance more heavily than the others,” or

“states that the QPA is the ‘primary’ or ‘most important’ factor.” Texas Med. Ass’n,

2022 WL 542879, at *8; see American Corn Growers Ass’n v. EPA, 291 F.3d 1, 6 (D.C.

Cir. 2002) (holding that where “no weights were assigned” to statutory factors,

“treat[ing] one of the five statutory factors in such a dramatically different fashion

distorts” Congress’s judgment). Congress knows how to mandate giving one factor

greater or less weight compared to others.           E.g., National Parks Omnibus

Management Act of 1998, Pub. L. No. 105-391, 112 Stat. 3497 (specifying “proposed

franchise fee” should be weighted less than factors listed in 16 U.S.C. § 5952(5)(A)).

But Congress did not do so in this case—and in fact, it rejected proposals that gave

priority to the median contracted rate (on which the QPA is based).1 This Court



      1 See, e.g., Lower Health Care Costs Act, S. 1895, 116th Cong. § 103(a) (2019)
(“A group health plan or health insurance issuer offering group or individual health
insurance coverage shall pay providers, including facilities and practitioners,
furnishing [certain] services[,] *** the median in-network rate for such services.”); No

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should (again) tell the Departments to leave the policymaking to Congress. It should

hold, once and for all, that no regulation is needed to supplement the factors that

Congress so clearly laid out in the statute. Put another way, “that’s it” really does

mean “that’s it.”

      B.     The Final Rule Overweights The QPA And Conflicts With The
             Intentional Design Of The IDR Process

      Informed by their real-world experiences under the IDR process in 2022,

amici’s members have a keen understanding of why the Departments’ various new

restrictions in the Final Rule will, in practical effect, always preference the QPA—

thus placing an unlawful “heightened burden on the remaining statutory factors.”

Texas Med. Ass’n, 2022 WL 542879, at *8. The fact that certain of these invented

requirements are unworkable for providers only underscores that they are

inconsistent with Congress’s system.

             1.     Requiring Arbitrators To Discount Factors Already “Accounted
                    For” By The QPA Impermissibly Elevates The QPA Factor

      The Final Rule requires arbitrators to ignore any information submitted by a

provider with respect to the non-QPA factors if those factors have already been

“accounted for by the [QPA].” 45 C.F.R. § 149.510(c)(4)(iii)(E). But the statute does


Surprises Act, H.R. 3630, 116th Cong. § 2(b) (2019) (proposing that insurers pay “the
recognized amount,” less patient copay or coinsurance); id. § 2(a) (defining
“recognized amount” as either no more than the state-mandated amount plus patient
copay or coinsurance or, for states without mandates, “at least the median contracted
rate”). While this Court eschewed reliance on legislative history in its first opinion
because the text was unambiguous, this type of legislative history bolsters Plaintiffs’
textual argument because Congress clearly chose between two alternative legislative
proposals. That choice may, if necessary, be properly afforded “the weight of
contemporary legislative history.” North Haven Bd. of Educ. v. Bell, 456 U.S. 512,
535 (1982).

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not say that. The Act vests discretion in the arbitrator to determine what weight to

give each factor. Texas Med. Ass’n, 2022 WL 542879, at *8. The Departments cannot

therefore require the arbitrator to “accord [a non-QPA factor] appropriate weight”

only “[t]o the extent [the] factor is not already reflected in the QPA.” 87 Fed. Reg. at

52,629. Where Congress mandates consideration of a factor, the decision maker must

give it individualized and independent consideration, regardless whether the factor

“has arguably [already been] considered” elsewhere. United Parcel Serv., Inc. v.

Postal Regul. Comm’n, 955 F.3d 1038, 1042 (D.C. Cir. 2020).

      The Departments’ requirement also is entirely unworkable for providers in

ways that conflict with the NSA’s framework. Although the Departments suggest

that providers can argue to the arbitrator that a mandated factor is “not accounted

for in the QPA,” 87 Fed. Reg. at 52,629, they have given providers a hopeless task.

Insurers “hold ultimate power—and are charged by regulation—to calculate the

QPA.” Texas Med. Ass’n, 2022 WL 542879, at *2. They are not required to give

providers any information about whether or how the QPA accounts for the other

mandated factors. To providers, the makeup of the QPA is a black box.

      Providers thus have no way to assess—much less contest—whether the QPA

accounts for a given factor when providers and insurers simultaneously submit their

offers to the IDR arbitrator. For instance, a physician may submit considerable

evidence that her specialized training supports an offer higher than the QPA. But if

an insurer claims the QPA already “accounts” for that training, the arbitrator—who

must treat the QPA as credible so long as it is calculated and communicated according



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to regulatory requirements, 87 Fed. Reg. at 52,627—will have no basis on which to

disregard the insurer’s representation.

      Still worse, an arbitrator is powerless to consider evidence regarding a non-

QPA factor if the insurer-calculated QPA already accounts for it, even if the arbitrator

disagrees with the weight the insurer gave it. For example, although a given QPA

may “account” for physician training in a general sense, a physician might still wish

to provide—and the arbitrator might wish to consider—evidence related to why

specialized training still justifies a higher rate in the context of a specific item or

service. But the Departments have insisted that “each factor should be weighted only

once in the evaluation of each party’s payment offer.”        87 Fed. Reg. at 52,629

(emphasis added).    Only if “a factor is not already reflected in the QPA” is an

arbitrator permitted to “accord that factor appropriate weight based on information

related to it provided by the parties.” Id. The result is that even if a provider—

despite having no real visibility into the QPA—could explain why a particular QPA

does not adequately account for her training, the arbitrator must ignore her evidence

so long as the QPA accounts for that training in some way.

      The power that the Final Rule confers on the QPA is made stark by the

Departments’ example of “an emergency department visit for the evaluation and

management of a patient,” where the provider submits “an offer that is higher than

the QPA,” as well as “information showing that the acuity of the patient’s condition

and the complexity of the qualified IDR service required the taking of a

comprehensive history, a comprehensive examination, and medical decision making



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of high complexity.” 87 Fed. Reg. at 52,629. The insurer in turn submits an offer

that is identical to the QPA, as well as effectively unrebuttable information showing

that the QPA “accounts for the acuity of the patient’s condition” and the complexity

of the service. Id. According to the Departments, if “the information on the acuity of

the patient and complexity of the service is already accounted for in the calculation

of the QPA,” the certified arbitrator simply “should not give weight to the additional

information provided by the” provider. Id. at 52,629-52,630 (emphasis added). The

end result is clear: forced by the Departments to conduct an artificially truncated

analysis of the other mandated factors, the arbitrator will end up choosing the offer

closest to the QPA.

      In short, not only have the Departments made it virtually impossible for

providers to rebut claims of double counting, they have snatched the decision of how

to weigh the various statutorily mandated factors from the hands of the arbitrator—

i.e., the independent entity Congress selected—and placed it squarely into the hands

of self-interested insurers. These defects necessarily compel “arbitrators to weigh ***

one factor or *** circumstance more heavily than the others” in direct contravention

of the NSA’s text and design—and this Court’s interpretation of it. Texas Med. Ass’n,

2022 WL 542879, at *8.

             2.       Requiring Arbitrators To Explain Only Why They Did Not Find A
                      Factor Accounted For In The QPA Impermissibly Elevates The
                      QPA Factor

      Not satisfied with inventing a virtually insurmountable obstacle to showing

that a factor is not already “accounted” for in the QPA, the Departments ensured that

those intrepid enough to overcome it will rarely get relief. That is because the
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Departments impose a particular writing requirement on only those arbitrators who

might wish to consider non-QPA factors—even though Congress imposed no such one-

sided requirement.

      Specifically, the Rule requires arbitrators, each time they rely on a non-QPA

factor, to explain in a written decision why that factor was not already reflected in

the QPA. 45 C.F.R. § 149.510(c)(4)(vi)(B) (“If the certified IDR entity relies on” a non-

QPA factor “in selecting an offer, the written decision must include an explanation of

why the certified IDR entity concluded that this information was not already reflected

in the [QPA].”). But the Rule nowhere requires arbitrators to explain the reverse:

why a non-QPA factor is reflected in the QPA. In so doing, the Rule heightens the

import of the QPA by making it more burdensome for arbitrators to deviate from it.

      Thus, even assuming the rare case exists where a provider is actually able to

sidestep the Departments’ prohibition on considering evidence related to non-QPA

factors purportedly accounted for in the QPA, arbitrators will be deterred from actual

reliance on such factors by the Departments’ added requirement that the arbitrator

explain why the QPA does not account for the factor. In the experience of amici’s

members, most IDR decisions are no more than a single paragraph or two. For

example, a federal plaintiff quoted a recent IDR arbitrator decision as offering just a

handful of sentences as the entire justification for its selection of the insurer’s offer:

      As noted above, the [IDR Entity] must consider related and credible
      information submitted by the parties to determine the appropriate [out-
      of-network] rate. As set forth in regulation, additional credible
      information related to certain circumstances was submitted by both
      parties. However, the information submitted did not support the
      allowance of payment at a higher [out-of-network] rate.

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Compl. 16-17, Med-Trans Corp. v. Capital Health Plan, Inc., No. 3:22-cv-1077-HES-

JBT (M.D. Fl. Oct. 4, 2022), ECF No. 1. Significantly, that decision was rendered in

August 2022—i.e., after this Court had invalidated the interim final rule for all

providers. See Texas Med. Ass’n, 2022 WL 542879, at *8; Lifenet Inc. v. U.S. Dep’t of

Health & Human Servs., No. 6:22-cv-00162-JDK, 2022 WL 2959715 at *10 (E.D. Tex.,

July 26, 2022).

      IDR entities are not paid by the word. They instead receive a modest flat-rate

payment of $200-$500 for adjudicating a single claim (or $268-$670 for reviewing

batched claims). Ctrs. for Medicare & Medicaid Servs., Technical Guidance No. 2021-

01, Calendar Year 2022 Fee Guidance for the Federal Independent Dispute

Resolution Process Under the No Surprises Act at 4 (Sept. 30, 2021). Faced with the

impracticable, one-sided requirement to justify reliance only on non-QPA factors (not

to mention the Departments’ clear skepticism regarding the independent relevance

of those factors), human nature suggests that arbitrators are likely to hew to the path

of least resistance, relying on the QPA alone to select an offer—all according to the

Departments’ plan.

             3.      Requiring Arbitrators To Consider Only Evidence That Relates
                     To The Specific Item Or Service Impermissibly Elevates The QPA
                     Factor

      The Final Rule is defective in a third way: it prohibits an arbitrator from even

considering a non-QPA factor if the information submitted in its support does not

“tend[] to show that the offer best represents the value of the item or service under

dispute.” 87 Fed. Reg. at 52,628 (defining what it means for information to “relat[e]

to” a party’s offer); see 45 C.F.R. § 149.510(c)(4)(iii)(E) (information cannot be
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considered unless it “relate[s] to either party’s offer for the payment amount for the

qualified IDR item or service”). Once again, Congress imposed no such restriction.

      A closer examination of how this requirement works in practice exposes the

Departments’ agenda. Of the six factors that an arbitrator may consider, it is (at

best) unclear whether at least two of them—(1) the respective market shares of the

provider and insurer, and (2) the parties’ previous good faith efforts to contract, see

42 U.S.C. § 300gg-111(c)(5)(C)(ii)(II), (V)—could ever relate to a particular “item or

service under dispute.” That is because, unlike training, experience, patient acuity,

and similar factors, information about market shares and prior negotiations do not

pertain to a specific “item or service,” but rather reflect structural factors that bear

on the relationship between providers and insurers in a particular market. Congress

sensibly chose to include these factors to encourage more in-network contracting, and

to account for the leverage either an insurer or provider carries when negotiating

contract rates.

      But that is apparently beside the point for the Departments. By preventing

arbitrators from considering information unless it relates to a particular “item or

service,” the Departments have effectively nullified two of the six factors Congress

mandated that they “shall” consider.

             4.     The Final Rule’s Remaining Requirements And Restrictions
                    Further Elevates The QPA Factor

      As should be evident by now, the Final Rule puts a thumb on the scale in favor

of the QPA in various ways. But viewed as a whole, that “thumb” is more like a fist.

That is because the Final Rule also imposes additional requirements, beyond those


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already described, that systematically preference the QPA at every turn.            For

example, it requires arbitrators to consider the QPA first in every arbitration, before

considering any other factors; it requires arbitrators to scrutinize the credibility of

every factor Congress required them to consider except for the QPA; and it prohibits

arbitrators   from    second-guessing     QPA    calculations.         See   45   C.F.R.

§ 149.510(c)(4)(iii)(A)-(B), (E); TMA Pls.’ Mot. for Summ. J. 18-22.

      In other words, when all of the Departments’ extra-statutory requirements are

viewed as a whole—the three just noted, in addition to the prohibition on considering

non-QPA factors already “accounted for,” the one-sided writing burden, and the

“relat[e] to” restriction—their import becomes crystal clear: the Departments have

elevated the QPA above the other factors, in violation of the NSA’s plain text.

II.   THE FINAL RULE WILL HARM PATIENTS AND PROVIDERS

      A.      The Departments’ Elevation Of The QPA Is Having Systemic Effects

      The Final Rule’s subversion of the non-QPA factors, and its systematic

elevation of the QPA, will routinely skew IDR arbitrations in favor of the QPA—and

thus insurers—to the detriment of providers and their patients.              Indeed, the

Departments’ unceasing preference for the QPA has already had reliably negative

consequences on providers’ ability to achieve fair payment rates from insurers,

leading to not just dramatic underpayments for out-of-network care, but also drastic

cuts for in-network contracted rates that will harm patients by reducing readily

available care.

      The reason insurers have been able to so abruptly modify such payment

structures is that, although the QPA is purportedly based on median contracted rates,

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the Departments’ regulations have led insurers to calculate QPAs that fall well below

market rates. For instance, the Departments’ regulations instruct insurers to exclude

from the QPA single-case agreements, as well as bonus and incentive payments—

even though such payments typically are part and parcel of providers’ negotiated

contracts.   See 45 C.F.R. § 149.140(a)(1) (excluding single-case agreements from

calculation of the QPA); id. § 149.140(b)(2)(iv) (excluding bonus and other incentive-

based payments or payment adjustments from calculation of QPA).

      Even worse, insurers have read the Departments’ regulations to permit in

some cases calculation of QPAs using “ghost rates”—rates for services a provider

never actually provides and has no incentive to negotiate—which exert downward

pressure on the QPA. A recent survey found that of 75 primary care professionals

surveyed, 68% included in their network contracts services they provide fewer than

two times a year, while 57% included in their network contracts services they never

provide. Avalere Health, PCP Contracting Practices and Qualified Payment Amount

Calculation Under the No Surprises Act at 4 (Aug. 2, 2022). In fact, the Departments

were forced to acknowledge recently that some insurers have been calculating QPAs

using $0 contractual rates for never-provided services. U.S. Departments of Labor,

Health and Human Services, & Treasury, FAQs About Affordable Care Act And

Consolidated Appropriations Act, 2021 Implementation Part 55 at 16 (Aug. 19,

2022).2 But the Departments have not amended their regulations to fix the problem.




      2 https://www.dol.gov/sites/dolgov/files/EBSA/about-ebsa/our-activities/
resource-center/faqs/aca-part-55.pdf.

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Although (in subregulatory guidance) the Departments recently instructed insurers

not to include $0 amounts when determining their median contracted rates, they said

nothing about excluding rates that, while not quite $0, are significantly below market

because they are based on never- or rarely provided services whose rates providers

have no incentive to negotiate. See id. 17 n.29. And besides, subregulatory guidance

is not the law.

      Because they exclude typical payments to providers and include below-market

rates, insurers’ QPAs do not reflect actual market rates. Insurers now know they can

rely on IDR arbitration to obtain a below-market payment amount for out-of-network

items and services.    That, in turn, has changed their approach to in-network

contracting. Specifically, if an in-network provider refuses to accept a near-QPA rate

during contract negotiations, an insurer can simply terminate the in-network

contract and obtain the desired rate through IDR arbitration. Either way, the QPA

becomes the de facto end point for payment rates, contrary to Congress’s design.

      Unsurprisingly, in the wake of the Departments’ campaign to elevate the QPA,

amici’s members have seen abrupt demands from insurers for across-the-board rate

reductions as high as 50%, and take-it-or-leave-it rate schedules that coalesce around

the QPA. Nona Tepper, Coming to a contract negotiation near you: the No Surprises

Act, MODERN HEALTHCARE, Aug. 3, 2022.          3   For instance, anesthesiologists,

radiologists, and emergency physicians all received letters from Blue Cross Blue




      3  https://www.modernhealthcare.com/insurance/no-surprises-act-influencing-
insurers-rate-setting-plans.

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Shield of North Carolina demanding that, in light of the interim final rule, they agree

to payment reductions of up to 30%—or forfeit their contracts.              Id.   And

UnitedHealthcare has similarly requested a 40% rate cut from emergency physicians.

Id. Because the Final Rule does not fix this problem—if anything, it entrenches it—

amici’s members expect insurers to continue to drive doctors and hospitals out of

network, reducing patient choice and access to care.

      B.     Rate Cuts Caused By The Departments’ Elevation Of The QPA Imperil
             Providers And Patient Care

      Even providers who opt to remain in-network are seeing dramatic rate

reductions—not just below the market average, but significantly below Medicare

rates (some insurers have demanded rates as low as 60% of Medicare rates). For

many providers, insurers’ dramatic rate cuts are unsustainable. As the AHA has

documented, Medicare rates—which are generally set by law—already typically

underpay hospitals for the cost of care. AHA, Fact Sheet: Underpayment by Medicare

and Medicaid (Feb. 2022).4 In 2020, hospitals on average “received payment of only

84 cents for every dollar spent *** caring for Medicare patients,” with “67 percent of

hospitals” receiving Medicare payments that were less than the cost of care. Id.

Historically, hospitals have been able to at least partially offset such underpayments

through more compensatory rates from privately insured patients. But with private

insurers now seeking rates at or below Medicare levels, hospitals will be hard pressed

to cover the cost of care for any of their patients.



      4https://www.aha.org/fact-sheets/2020-01-07-fact-sheet-underpayment-
medicare-and-medicaid.

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      These cuts ultimately threaten the scope of provider services (especially those

that historically lose money, such as burn units and behavioral health services), and

the viability of provider practices (in particular, small- and mid-sized physician

groups that have operated under stable contracts for years). See, e.g., Letter from

American College of Emergency Physicians to Members of the North Carolina

Congressional Delegation (Dec. 9, 2021) (“ACEP Letter”).5 Insurers’ non-negotiable

reductions will inevitably lead some physician groups to close, sell, or relocate their

practices. Even those practices that continue may not be able to expand to meet

patient demand or hospital staffing requirements. After weathering a once-in-a-

century global pandemic, health systems are already struggling with rising costs

caused by inflation and labor shortages. Margins for all U.S. hospitals are “down 37%

relative to pre-pandemic levels” and “[m]ore than half of hospitals are projected to

have negative margins through 2022.” KaufmanHall, The Current State of Hospital

Finances: Fall 2022 Update at 1 (prepared at the request of Am. Hosp. Ass’n) (2022).6

These abrupt, uniform rate reductions come at a perilous time.

      It is patients who will suffer the worst consequences.         Rural and other

underserved patient populations will bear the brunt of this sea change, losing their

access to readily available and personalized care. Consider the example of just one

North Carolina group of emergency physicians, a group that operates on thin margins




      5  https://www.acep.org/globalassets/new-pdfs/advocacy/acep--nccep-insurer-
cuts-letter-to-nc-delegation---12092021.pdf.
       6 https://www.kaufmanhall.com/sites/default/files/2022-09/KH-Hospital_

Finances_Report-Fall2022.pdf.

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with no outside corporate or investor funding. See ACEP Letter. The group serves

11 emergency departments, including one designated as having a provider shortage

and others located in rural areas of the state. In 2020, the group’s physicians served

425,000 patients, 44% of whom were uninsured or on Medicaid. Id. At the end of

2021, just as the NSA’s regulations were set to go into effect, Blue Cross Blue Shield

of North Carolina threatened termination of the group’s contract if it did not accept

an immediate 20% cut to its contracted rates. Id. Blue Cross made clear that, going

forward, it would require the group to accept contracted rates closer to the QPA. Id.

It is far from clear what will happen to patients when groups like this can no longer

afford to serve them.

       The Departments previously recognized that significant reductions in provider

rates could “threaten the viability of these providers [and] facilities,” which “in turn,

could lead to participants, beneficiaries and enrollees not receiving needed medical

care, undermining the goals of the No Surprises Act.” Requirements Related to

Surprise Billing; Part II, 86 Fed. Reg. 55,980, 56,044 (Oct. 7, 2021). The Departments

should heed their own warning. Luckily, there is already an easy path for arbitrators

to follow that will avoid these harmful consequences for providers and the patients

they serve—namely, the one Congress charted in the text of the No Surprises Act.

That’s it.

                                    CONCLUSION

       The AMA and AHA respectfully urge the Court to grant Plaintiffs’ motion and

set aside the provisions of the Final Rule that unlawfully prioritize the QPA above

the other statutorily mandated factors.
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Dated: October 19, 2022            Respectfully submitted,


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                           CERTIFICATE OF SERVICE

      I hereby certify that on October 19, 2022, I served the foregoing document

upon all counsel of record by filing a copy of the document with the Clerk through

the Court’s electronic docketing system.

                                         /s/ James E. Tysse
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